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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION
                                    Case No.1:18-cv-23576-KMW

   AM GRAND COURT LAKES LLC
   & AM 280 SIERRA DRIVE LLC,

            Plaintiffs/Counter-Defendants,

   v.

   ROCKHILL INSURANCE COMPANY,

        Defendant/Counter-Plaintiff.
   ______________________________/

                  DEFENDANT'S RESPONSE IN OPPOSITION/OBJECTION TO
                   PLAINTIFFS’ MOTION FOR ENTRY OF FINAL JUDGMENT

            Defendant/Counter-Plaintiff, ROCKHILL INSURANCE COMPANY (“Rockhill” or

   "Defendant"), by and through its undersigned counsel, files this Response in

   Opposition/Objection to Plaintiffs’ Motion for Entry of Final Judgment (the "Motion").

   [D.E. #205]. 1

            On November 25, 2019, this Court entered an Order which gave the parties until

   December 9, 2019 to file supplementation, if any, to pending motions for judgment as a

   matter of law and, until ruled upon, any entry of Final Judgment is premature. [D.E.

   #198].

            WHEREFORE,           Defendant/Counter-Plaintiff,        Rockhill    Insurance      Company,

   respectfully requests that the Court deny Plaintiffs Motion for Entry of Final Judgment

   and provide such further relief deemed just and appropriate under the circumstances.




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             Defendant reserves the right to supplement this response in the event the Court entertains
            Plaintiffs’ motion at this time.
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                                                                   Case No.1:18-cv-23576-KMW


                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on December 9th, 2019, the undersigned

   electronically filed the foregoing document with the clerk of the Court using CM/ECF.

   The undersigned also certifies that the foregoing document is being served this day to:

   Font & Nelson, PLLC, 200 S. Andrews Avenue, Suite 501, Fort Lauderdale, Florida

   33301 (jfont@fontnelson.com; afriedman@fontnelson.com; bfischer@fontnelson.com;

   fnelson@fontnelson.com;            gvega@fontnelson.com;            jproffitt@fontnelson.com;

   jwilds@fontnelson.com; nkronen@fontnelson.com; pleadings@fontnelson.com); either

   via transmission of Notices of Electronic Filing generated by CM/ECF or in some other

   authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic filing.

                                                  LEVY LAW GROUP

                                                  /s/Lauren D. Levy __________
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